                            UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

LIGURIA FOODS, INC.,                                     )
                                                         )
                 Plaintiff,                              )
                                                         )
        vs.                                              )      Case No. 3:14-CV-3041-MWB
                                                         )
GRIFFITH LABORATORIES, INC.,                             )
                                                         )
                 Defendant.                              )

                         LIGURIA FOODS, INC.’S EXHIBIT LIST FOR
                               HEARING ON MARCH 7, 2017

        Plaintiff, Liguria Foods, Inc. (“Liguria”), by its undersigned counsel, in accordance with

the Court’s Order of March 8, 2017, files its Exhibits 1 through 25, as identified below, which

have previously been served upon Defendant, Griffith Laboratories, Inc., and supplied to the Court,

in accordance with the Court’s Supplemental Order of March 1, 2017, in advance of the hearing

held by the Court on March 7, 2017:

 Ex. No.                                        Plaintiff’s Exhibits

    1               Expert Opinion Report of Andrew L. Milkowski, Ph.D. – July 14, 2016

    2           Rebuttal Opinion Reports of Andrew L. Milkowski, Ph.D. – December 28, 2016

    3          Supplemental Opinion Report of Andrew L. Milkowski, Ph.D. – February 6, 2017

    4             Expert Opinion Report of Joseph G. Sebranek, Ph.D. – November 29, 2016

    5                         Statement of Joseph G. Sebranek, Ph.D. – February 4, 2017

    6                   Liguria Raw Material Data – LIGURIA/GRIFF 001644 – 001675

    7                  Watts, Betty; Oxidative Rancidity and Discoloration in Meat; 1954

    8         Method of Protecting Dry Sausage Against Discoloration and Rancidity; U.S. Patent
                                  No. 2,901,354; Patented August 25, 1959




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9                 Analysis of BHA and BHT Data – January – August 2013
                             (LIGURIA/GRIFF 006086 – 6097)

10            Analysis of Griffith Process Variations – February – August 2013
                                 (LIGURIA/GRIFF 006079)

11       Liguria Daily Production Sheets (9/7/2012; 9/8/2012; 9/10/2012; 9/11/2012)
           (LIGURIA/GRIFF 018541; 018543; 018548; 018550; 018562; 018569)

12       Memorandum of K. Adams, dated March 11, 2013, to K. Holt, D. Portz, L.
          Windecker; L. Lathrop; G. Neill; and S. Shah (GLAB 001384 – 1390)

13      Email Communications between K. Adams/Griffith Personnel & K. Adams/J.
        Whitham, dated March 27, 2013, attaching Liguria Root Cause Investigation
                              (GLAB 001299 – 001304)

14                  Affidavit of Jehan Saulnier, dated November 12, 2016

15            Supplemental Affidavit of Jehan Saulnier, dated January 16, 2017

16                ABC Research Laboratories – Analytical Data (2012-13)
                         (LIGURIA/GRIFF 025042 – 025062)

17      NSF International – Food Safety, Quality and Food Defense Audit, July 2012
                           (LIGURIA/GRIFF 024757 – 024766)

18                              SQF Audit, December 2013
                            (LIGURIA/GRIFF 025889 – 025951)

19            Liguria Internal Control Procedures – Rework Control (Feb. 2013)
                              (LIGURIA/GRIFF 004051 – 4052)

20                           Liguria Internal Control Procedures
       (LIGURIA/GRIFF 004049-50, 4029-30, 4033-34, 4041-43, 4038-39, 4057-61, 4065-68,
                                      4069-74, 3971-79)

21                              Affidavit of Stanley J. Seavey

22               Griffith Website Documents – http://www.griffithfoods.com

23       USDA Comprehensive Food Safety Assessment of Liguria - January, 2012
                       (LIGURIA/GRIFF 026840 – 026891)

24          Liguria’s Response to Griffith’s Third Set of Requests for Production:
                       Stanley J. Seavey – File (SEAVEY 000001 – 47)


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   25            Liguria’s Response to Griffith’s Third Set of Requests for Production:
                                 LIGURIA/GRIFF 026673 – 026839

Date: March 10, 2017                       Respectfully submitted,

                                           LIGURIA FOODS, INC.

                                           By: /s/ David J. Ben-Dov
                                               One of Its Attorneys


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